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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
    ____________________________________
                                         :
    UNITED STATES OF AMERICA             :
                                         :
          v.                             : Case No. 22-CR-184 (DLF)
                                         :
    BARRY BENNET RAMEY,                  :
                                         :
                      Defendant          :
    ____________________________________:

               DEFENDANT’S MOTION TO SET A HEARING DATE

        Defendant Barry Ramey, by and through counsel, respectfully requests that this Court

set a status date in this matter to set a trial date. In support thereof, he states:

    1. Mr. Ramey was scheduled to begin trial on October 31, 2022;

    2. While Defense Counsel and the Counsel for Government had maintained lines of

        communication about a potential plea resolution, these conversations became more

        fruitful closer to the trial date;

    3. Counsel for the Government joined in the motion to request that the trial date be

        continued or removed in an effort to give both sides adequate time to pursue a plea

        resolution;

    4. This Court vacated the earlier trial dates and set a status hearing for January 18, 2022;

    5. Plea negotiations did not result in a disposition for the matter;

    6. Defendant respectfully requests a new trial date;

    7. The Court and all parties involved are available for a status hearing on November 17,

        2022, at 11 a.m.

                                        CONCLUSION

    WHEREFORE, the Defendant respectfully requests that the Court set a status hearing on



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November 17, 2022, at 11 a.m. to elect a new trial date in the above-captioned matter.

                                             Respectfully submitted,


                                             /s/ Farheena Siddiqui
                                             Farheena Siddiqui
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                                             Alexandria, VA 22314
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                                             Phone: 703-535-7809
                                             Counsel for Defendant


                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of Defendant’s Reply to the Government’s Opposition to

Defendant’s Motion to Revoke Detention Order was served upon counsel of record through ECF

on the date of filing.


                                                       s/ Farheena Siddiqui
                                                       Farheena Siddiqui




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